Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4373 Filed 05/13/15 Page 1 of 19




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                       Plaintiff,                            HON. MARK A. GOLDSMITH
 v.                                                          Case No. 12-CR-20287

 D-1 ALEXANDRA L. NORWOOD,
 D-2 JATIMOTHY E. WALKER,
 D-3 JONATHAN E. WALKER,
 D-4 JOHNATHAN L. OLDHAM, and
 D-8 LEON GILLS,

                   Defendants.
 __________________________________/

    MEMORANDUM OPINION DENYING DEFENDANT OLDHAM’S MOTION TO
   EXCLUDE STATEMENT (Dkt. 656), GRANTING THE GOVERNMENT’S PENAL-
 INTEREST MOTION (Dkt. 657), and DENYING DEFENDANT GILLS’S MOTION FOR
                   LIMITING INSTRUCTION (Dkt. 651)

        A joint trial involving the six co-Defendants began in the above-captioned case on May

 27, 2014. During trial, the Government sought the admission of various statements under the

 statement-against-penal-interest exception to the hearsay rule, which is contained in Federal Rule

 of Evidence 804(b)(3). Three of these statements were the subject of more intensive argument

 and/or briefing. On July 1 and 2, 2014, the Court ruled that two of these statements were

 admissible. The Court heard argument on the third statement on July 3, 2014 and July 7, 2014.

 The Court now provides this decision to explain fully its reasoning in admitting all three

 statements.

                                    I. LEGAL PRINCIPLES

        The “statement-against-penal-interest” exception to the hearsay rule provides as follows:

                The following are not excluded by the rule against hearsay if the
                declarant is unavailable as a witness:



                                                 1
Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4374 Filed 05/13/15 Page 2 of 19




                A statement that:

                        (A) a reasonable person in the declarant’s position would
                        have made only if the person believed it to be true because,
                        when made, it was so contrary to the declarant’s proprietary
                        or pecuniary interest or had so great a tendency to
                        invalidate the declarant’s claim against someone else or to
                        expose the declarant to civil or criminal liability; and

                        (B) is supported by corroborating circumstances that
                        clearly indicate its trustworthiness, if it is offered in a
                        criminal case as one that tends to expose the declarant to
                        criminal liability.

 Fed. R. Evid. 804(b)(3).

        If the statement qualifies for admission under this exception, it is not just admissible

 against the declarant. See, e.g., United States v. Johnson, 581 F.3d 320, 327 (6th Cir. 2009)

 (statement by O’Reilly admissible against Johnson); Williamson v. United States, 512 U.S. 594,

 603 (1994) (“[A] declarant’s squarely self-inculpatory confession — ‘yes, I killed X’ — will

 likely be admissible under Rule 804(b)(3) against accomplices of his who are being tried under a

 co-conspirator liability theory.”); see also id. (“[B]y showing that the declarant knew something,

 a self-inculpatory statement can in some situations help the jury infer that his confederates knew

 it as well.”); Neuman v. Rivers, 125 F.3d 315, 320 (6th Cir. 1997) (“If the overheard statements

 were made by the defendant, they were admissible as statements against penal interest. If they

 were made by his father, they were similarly admissible as statements against penal interest.”).

        For a statement to be admissible under Rule 804(b)(3), three factors must be satisfied:

 “[(i)] the declarant must be unavailable, [(ii)] the statement must, ‘from the perspective of the

 average, reasonable person,’ be adverse to the declarant’s penal interest, and [(iii)] corroborating

 circumstances must ‘truly establish the trustworthiness of the statement.’” Johnson, 581 F.3d at

 326-327 (quoting United States v. Tocco, 200 F.3d 401, 414 (6th Cir. 2000)).



                                                  2
Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4375 Filed 05/13/15 Page 3 of 19




         With respect to the first factor, an individual who is likely to invoke his or her Fifth

 Amendment privilege against self-incrimination if called to testify may be rendered unavailable

 as a witness. Id. at 327; see also Fed. R. Evid. 804(a)(1).

         Regarding the second factor, the Supreme Court has explained that “whether a statement

 is self-inculpatory or not can only be determined by viewing it in context.” Williamson, 512

 U.S. at 603. For example, statements that are neutral on their face may actually be against the

 declarant’s penal interest when put in context. Id. Therefore, determining whether a statement is

 self-inculpatory “can only be answered in light of all the surrounding circumstances.” Id. at 604.

         However, just because part of a statement is self-inculpatory does not mean the entire

 statement is admissible; to the contrary, “Rule 804(b)(3) . . . does not allow admission of non-

 self-inculpatory statements, even if they are made within a broader narrative that is generally

 self-inculpatory.” Id. at 600-601. This is because “[s]elf-exculpatory statements are exactly the

 ones which people are most likely to make even when they are false; and mere proximity to

 other, self-inculpatory, statements does not increase the plausibility of the self-exculpatory

 statements.” Id. at 600. Courts also must be cognizant to distinguish between those statements

 that are actually self-inculpatory, and those that “merely attempt[] to shift blame or curry favor.”

 Id. at 603.

         Nevertheless, just because a statement also incriminates other individuals does not mean

 the statement is inadmissible. United States v. Tocco, 200 F.3d 401, 415 (6th Cir. 2000) (“Thus,

 we decline to hold that those statements [against penal interest] were rendered inadmissible by

 virtue of the fact that others were implicated.”). Indeed, as Justice Scalia observed in his

 concurrence in Williamson, as adopted by the Sixth Circuit in Tocco,

                For example, if a lieutenant in an organized crime operation
                described the inner workings of an extortion and protection racket,


                                                  3
Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4376 Filed 05/13/15 Page 4 of 19




                naming some of the other actors and thereby inculpating himself
                on racketeering and/or conspiracy charges, I have no doubt that
                some of those remarks could be admitted as statements against
                penal interest.

 Id. (quoting Williamson, 512 U.S. at 606-607 (Scalia, J., concurring)). However, statements that

 inculpate others — while doing little to subject the declarant to liability — are generally not

 admissible under Rule 804(b)(3). See Williamson, 512 U.S. at 604 (“A reasonable person in

 Harris’[s] position might even think that implicating someone else would decrease his practical

 exposure to criminal liability, at least so far as sentencing goes.”).

        Finally, in assessing the third factor — the trustworthiness of the statement — the Court

 must not focus “on whether other evidence in the case corroborates what the statement asserts,

 but rather on whether there are corroborating circumstances which clearly indicate the

 trustworthiness of the statement itself.” Johnson, 581 F.3d at 327 (quotation marks and citation

 omitted). In making this determination, the Court need not “‘be completely convinced as a

 prerequisite to admission that the . . . statements are true. Rather, [it] need only find that

 sufficient corroborating circumstances exist which indicate the statement’s trustworthiness.’”

 Romans v. Berghuis, No. 06-11330, 2007 WL 4247607, at *12 (E.D. Mich. Dec. 4, 2007)

 (quoting United States v. Price, 134 F.3d 340, 347 (6th Cir. 1998)).

        In determining whether corroborating circumstances establish the statement’s

 trustworthiness, courts have looked at various factors, including, but not limited to: whether the

 statement was recorded, Johnson, 581 F.3d at 327; whether the statement was made to a friend or

 to law enforcement, id.; whether self-interested motives diminish the trustworthiness of the

 statement, such as seeking to shift blame, curry favor, or minimize the declarant’s role, United

 States v. Franklin, 415 F.3d 537, 547 (6th Cir. 2005); and whether the statements are mere

 puffing or bragging, id.


                                                    4
Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4377 Filed 05/13/15 Page 5 of 19




                                         II. DISCUSSION

        The parties have provided extensive briefing and argument on three statements: (i) a

 statement purportedly made by Defendant Oldham to Roderick Dudley — an alleged unindicted

 coconspirator who testified at trial — regarding the shooting of Malachi Wilson; (ii) a statement

 purportedly made by Defendant Gills to Rodney Harden — an individual who testified at trial —

 regarding the shooting of Malachi Wilson; and (iii) a recorded telephone conversation between

 Defendant Jatimothy Walker and an unidentified female discussing (a) a plan to mislead the

 police regarding the ownership of certain drugs and a firearm and (b) a purported apology by

 Gills for falsely claiming Walker was “telling.”1 The Court addresses each statement in turn.

 A. Roderick Dudley

        The Government notified Defendants that Roderick Dudley — an unindicted

 coconspirator — was likely to testify that, while in jail together, he had a conversation with

 Oldham regarding the shooting of Malachi Wilson in response to information he (Dudley)

 received from Shawn Gardner, another coconspirator. Oldham allegedly told Dudley that he

 (Oldham) shot at Wilson, chased him down, and then stood over him and fired more rounds.

 Oldham also purportedly stated that he was not upset following this shooting. See R. Dudley

 Vol. I at 18-21; R. Dudley Vol. II at 4-6.

        Defendants objected to the admission of this statement under Rule 804(b)(3), claiming

 that it was not sufficiently trustworthy. See R. Dudley Vol. I at 21; 7/1/2014 (Rough Tr.) at 4-5.

 The Court offered the parties an opportunity to question Dudley outside the presence of the jury

 to develop their arguments regarding trustworthiness, but the parties declined this offer. See

 7/1/2014 (Rough Tr.) at 5, 10-11.
 1
   Any references to “Walker” contained within this Opinion are to Defendant Jatimothy Walker,
 not Defendant Jonathan Walker.

                                                 5
Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4378 Filed 05/13/15 Page 6 of 19




        The parties do not dispute that the statement was against Oldham’s penal interest and that

 Oldham was unavailable for purposes of Rule 804(b)(3). The Court agrees. The statement was

 clearly of such a nature that a reasonable person would recognize that the statement could subject

 him or her to criminal liability, and Oldham was “unavailable” because he was likely to exercise

 his Fifth Amendment privilege against testifying. See United States v. Johnson, No. 05-80025,

 2007 WL 2420786, at *3 (E.D. Mich. Aug. 23, 2007). The only point of disagreement, then, is

 whether corroborating circumstances establish the statement’s trustworthiness such that it should

 be admitted under Rule 804(b)(3).

        As explained on the record, the Court finds that they do. Oldham made the statement to

 Dudley — a friend, or, at a minimum, not someone with whom he was hostile — rather than law

 enforcement. Johnson, 581 F.3d at 327. The statement did not seek to shift blame or minimize

 Oldham’s role in the shooting; indeed, Oldham strongly inculpated himself.          Id.; see also

 Franklin, 415 F.3d at 548. Further, there is no indication that Oldham made the statement to

 curry favor or as part of an official investigation. Nor is there any reason to believe Oldham had

 a motivation to lie about having shot Malachi Wilson. Johnson, 581 F.3d at 327; Franklin, 415

 F.3d at 548. Finally, this serious statement appears to have been made in response to a direct

 question from Dudley regarding information he learned from Gardner, and thus constituted more

 than mere idle chatter or puffery. Thus, the Court finds this statement admissible under Rule

 804(b)(3).

 B. Rodney Harden

        The Government next sought to introduce testimony about the shooting of Malachi

 Wilson through Rodney Harden. Before the testimony was introduced, Oldham filed a motion to

 exclude the statement (Dkt. 656), the Government filed a response entitled a “penal interest



                                                 6
Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4379 Filed 05/13/15 Page 7 of 19




 motion” (Dkt. 657), and the Court heard argument on July 1 and 2, 2014. The Court also

 allowed the parties to question Harden outside the presence of the jury to determine (i) precisely

 what Harden would say he had been told, and (ii) whether corroborating circumstances indicated

 the statement’s trustworthiness.    The Court ultimately issued a bench ruling admitting the

 statement under Rule 804(b)(3). See 7/2/2014 (Rough Tr.) at 27-28.

        Harden claimed that Gills told him that he (Gills) was with Ricco Holmes on the north

 side of Flint when Holmes received a call from “John Boy” (Johnathan Oldham) and “Dude”

 (Shawn Gardner). Gills purportedly told Harden that “they” (Oldham and/or Gardner) said that

 “they had Malachi” Wilson, and asked what they should do. Gills said he then told them to “lay

 law down.” Gills also purportedly told Harden that he (Gills) asked Holmes to take him back to

 the south side, but Holmes refused. R. Harden Vol. II at 5-11.

        Harden testified that Gills told him this information while the two were housed together

 in the F-Pod of Midland County Jail, also known as the “hole.” Id. at 6-7. Harden claimed that

 he had many conversations with Gills while at Midland County Jail about a variety of topics. Id.

 at 7-8, 16. Harden also explained that, while in F-Pod, he and Gills were permitted to be out of

 their cells for one hour each day, and that this particular conversation occurred while Harden was

 visiting Gills’s cell during one of these periods in October 2013. Id. at 7-8.

        Once again, the parties did not dispute that this statement was against Gills’s penal

 interest and that Gills was “unavailable” under Rule 804(b)(3). However, Defendants objected

 to the introduction of this statement for two reasons: (i) there were not sufficient guarantees of

 trustworthiness, and (ii) the statements that Oldham, Gardner, and/or Holmes made to Gills, that

 Gills then purportedly relayed to Harden, were inadmissible hearsay within hearsay under

 Federal Rule of Evidence 805. Oldham Br. at 3-5 (Dkt. 656).



                                                  7
Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4380 Filed 05/13/15 Page 8 of 19




        As explained on the record, the Court concludes that the statement is admissible as a

 statement against Gills’s penal interest. With respect to the first and second factor, the Court

 finds — and the parties do not dispute — these were met: (i) the statement was of such a nature

 that a reasonable person would recognize that it could subject him or her to criminal liability, and

 (ii) Gills was “unavailable” during the Government’s case-in-chief, i.e., when the statement was

 first admitted, because the Government could not compel him to testify, even though he

 ultimately decided to take the stand during his case-in-chief. See Johnson, 2007 WL 2420786, at

 *3.

        The Court also concludes that corroborating circumstances establish the trustworthiness

 of the statement under Rule 804(b)(3). Gills purportedly made the statement to Harden, a

 colleague with whom he shared a mutual friend, Ricco Holmes. Defendants do not dispute that

 Gills and Harden were in the F-Pod together at the time of the alleged statement, and Harden

 testified that he and Gills had various conversations during this period. Indeed, Harden stated

 that this discussion concerning the shooting of Malachi Wilson was part of a longer conversation

 between the two about “stuff in the street.” R. Harden Vol. II at 8; see also id. at 19, 24.

        The nature of the statement also indicates its trustworthiness. The statement was not

 made to law enforcement and does not appear to have been made to curry favor. Furthermore,

 there does not appear to have been a reason for Gills to lie or deceive Harden, nor was the

 statement made as part of a formal investigation. The statement also did not minimize Gills’s

 role in the shooting; to the contrary, it suggested that he acted as the orchestrator of events,

 instructing Oldham and/or Gardner to “lay law down.”

        Defendants argued that the statement was suspect because Harden could not identify

 whether Gills told him if it was Oldham or Gardner who said “they” had Malachi Wilson. See



                                                   8
Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4381 Filed 05/13/15 Page 9 of 19




 7/2/2014 (Rough Tr.) at 22-24. Defendants are mistaken. Harden testified during voir dire,

 outside the presence of the jury, that Gills told him that Oldham and Gardner called Holmes, who

 handed the phone to Gills. Oldham and Gardner then said that “they had Malachi.” See R.

 Harden Vol. II at 8-9. Harden did not say that he could not recall — or that Gills had difficulty

 recalling — whether it was Oldham or Gardner who made the statement. Nor is there anything

 suspect in Harden’s or Gills’s use of the term “they.” The generalized use of the plural form

 “they” in a conversation purportedly involving three or more participants would not be

 inappropriate.2

        Defendants also claimed the statement was not sufficiently trustworthy because it was

 nothing more than mere bragging or puffery intended to impress Harden. Oldham Br. at 3-4.

 The Court rejects this argument because it is based solely on speculation. Defendants offer no

 evidence or explanation as to why Gills would seek to impress Harden or curry favor with him,

 nor do Defendants explain why the other indicia of trustworthiness should be disregarded even if

 the statement were intended to impress Harden. Although the fact that a statement contains

 bragging may undermine trustworthiness in some instances, the Court concludes that the totality

 of the circumstances in this case — including that Gills was speaking to an acquaintance and did
 2
   After the Court admitted the statement based on the voir dire, Harden testified before the jury
 both that Gills told him that “they” said they had Malachi, and, later, that it was Oldham who
 made this statement to Gills. R. Harden Vol. II at 31. These answers came in response to
 different questions based on an objection by Mr. Minock, counsel to Oldham:

        Q: And did Mr. Gills tell you what they said to him?
        A: He said they got Malachi.
               Mr. Minock: Objection to they.
        Q: Well, what’s your understanding? What did Mr. Gills tell you?
        A: John Boy [Oldham] was on the phone and said they had Malachi. What they want
        him to do?

 7/2/2014 (Rough Tr.) at 35. The Court finds these responses are not inconsistent with the earlier
 testimony during voir dire, because Harden’s use of “they” included Oldham.


                                                9
Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4382 Filed 05/13/15 Page 10 of 19




 not minimize his involvement — establishes the statement’s trustworthiness. See Neuman, 125

 F.3d at 320 (statements that included “bragging about having had sex with someone” were

 admissible as statements against penal interest in case for criminal sexual conduct). Therefore,

 the Court concludes that Gills’s statement is admissible under Rule 804(b)(3).3

        Although the statement by Gills is admissible as against his penal interest, Defendants

 claimed that the statements purportedly made by Oldham, Gardner, and/or Holmes contained

 within Gills’s statement also must be independently admissible under Rule 805.4 Oldham Br. at

 4-5.   The Court agrees, but finds that the Government met its burden for admitting these

 statements.

        Federal Rule of Evidence 805 provides, as follows: “Hearsay within hearsay is not

 excluded by the rule against hearsay if each part of the combined statements conforms with an

 exception to the rule.” In other words, “[i]n order to admit an out-of-court statement that is

 nested within another, Rule 805 requires that both statements be admissible.” United States v.

 Payne, 437 F.3d 540, 547 (6th Cir. 2006) (emphasis in original).


 3
   Oldham also argued that the Court should not admit the statement because it was not timely
 disclosed. Oldham Br. at 2. The Government conceded that it inadvertently failed to timely
 disclose the statement, but highlights that Defendants have suffered no prejudice as a result of
 the late disclosure. Gov’t Br. at 6-7. The Court agrees with the Government. At the hearing on
 the motion, Defendants were unable to articulate any precise prejudice arising from the late
 disclosure, other than a vague, “speculati[ve]” possibility that Gills’s counsel may have
 conducted his cross-examination of another coconspirator who testified earlier differently. See
 7/1/2014 (Rough Tr.) at 152-154. However, Gills’s counsel was unable to articulate precisely
 how his cross-examination would have changed, or even that it affirmatively would have.
 Moreover, once the statement was disclosed, the Court bifurcated Harden’s testimony to give
 counsel time to prepare a new cross-examination for Harden based on the statement. See
 6/26/2014 (Rough Tr.) at 5-7, 105-108. Accordingly, the Court concludes that Defendants
 suffered no prejudice from the late disclosure.
 4
  Defendants fail to identify what statements by Holmes they think are problematic. Rather, their
 argument focused exclusively on Oldham’s and/or Gardner’s statement that they had Malachi
 Wilson. Therefore, it is unclear to which portion of Harden’s testimony regarding Holmes that
 Defendants object.

                                                10
Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4383 Filed 05/13/15 Page 11 of 19




        With respect to the statement that “they” had Malachi Wilson, the Government argued

 that this statement was independently admissible as a coconspirator statement under Rule

 801(d)(2)(E). Gov’t Br. at 5. To admit a statement under that rule, the Government must prove

 by a preponderance of the evidence “(1) that a conspiracy existed, (2) that the defendant against

 whom the [statement] is offered was a member of the conspiracy, and (3) that the hearsay

 statement was made in the course of and in furtherance of the conspiracy.” United States v.

 Vinson, 606 F.2d 149, 152 (6th Cir. 1979).

        As with all other purported coconspirator statements in this case, the Court conditionally

 admitted the statements pursuant to Rule 801(d)(2)(E), subject to a later decision whether the

 Government had met its burden on admissibility. See 5/6/2014 Op. and Order (Dkt. 556);

 5/15/2014 Order at 2-3 (Dkt. 586). On July 17, 2014, the Court ruled on the record that the

 Government had met its burden, as further detailed in another opinion issued today.

        In arguing against admissibility, Defendants claimed that the statement that “they had

 Malachi” Wilson should not be admitted, because it is not known whether it was Oldham or

 Gardner who made it. See 7/2/2014 (Rough Tr.) at 23-24. The Court rejects this argument for

 two reasons.

        First, the Government alleged that both Oldham and Gardner were members of the

 conspiracy — a contention that the Court finds substantiated.5 It is thus irrelevant whether it was

 Oldham or Gardner who made the statement, as both would qualify as coconspirators.

 5
    The Court issued another opinion today, explaining why this statement is admissible under
 Rule 801(d)(2)(e), including describing the evidence that a conspiracy existed, that Oldham and
 Gardner were members of the conspiracy, and that this statement was made during, and in
 furtherance of, the conspiracy. With respect to Oldham, the Court found that the Government
 had shown, by a preponderance of the evidence, that he was a member of the conspiracy, given
 testimony by coconspirator witnesses identifying him as such (X. Turner Vol. I at 43), his own
 recorded statements identifying himself as a “Hot Boy” (Exhibit 82/82A), his tattoos, and
 evidence and testimony that Oldham sold drugs in the territory and committed acts of violence in

                                                 11
Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4384 Filed 05/13/15 Page 12 of 19




        Second, even if the declarant’s identity were entirely unknown — as opposed to

 identifying two possible declarants, but not knowing which of the two made the statement — this

 would not make the statement inadmissible per se. For example, in United States v. Martinez,

 430 F.3d 317, 326 (6th Cir. 2005), the Sixth Circuit explained that “[a]n anonymous statement

 may be admissible under Rule 801(d)(2)(E) if circumstantial evidence permits a finding by a

 preponderance of the evidence that there was a conspiracy involving the author and the

 defendant, and the statement was made in the course and furtherance of the conspiracy.” In other

 words, “[w]hat is essential is that the government show that the unknown declarant was more

 likely than not a conspirator.” Id. (quotation marks and citation omitted).

        Here, the statement to Gills that the declarant had Malachi Wilson makes it more likely

 than not that the declarant was a conspirator; under the Government’s theory, the declarant spoke

 to Gills and asked how to proceed in light of the underlying feud involving Gills and Malachi

 Wilson’s brother.    Given that the Government alleged that one purpose of the purported

 conspiracy was to support other members with their feuds, see Am. First Superseding

 Indictment, Count I, ¶ 8 (Dkt. 191), the call to Gills asking how to proceed could have been in

 furtherance of the conspiracy. Therefore, the anonymity of the declarant is not determinative.

        Accordingly, the Court denies Defendant Oldham’s motion to exclude the statement

 (Dkt. 656), and grants the Government’s penal-interest motion (Dkt. 657).

 C. Jatimothy Walker Recorded Phone Call



 retaliation for acts of disrespect against other members (X. Turner Vol. I at 108; R. Harden Vol.
 II at 31-32; Exhibit 367). Similarly, the Court found that the Government had shown, by a
 preponderance of the evidence, that Gardner was a member of the conspiracy, based on
 testimony identifying him as a member (X. Turner Vol. II at 13), stating that he sold drugs in the
 territory (id.), and describing acts of violence he committed in retaliation for acts of disrespect
 and violence against other members (R. Harden Vol. II at 30-31; C. Orr at 82-83), as well as
 evidence of his tattoos (Exhibit 57-1 to 57-4).

                                                 12
Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4385 Filed 05/13/15 Page 13 of 19




        The Government also introduced into evidence a recorded telephone conversation

 between Jatimothy Walker, while he was incarcerated, and an unidentified female. See Ex. 82A.

 The recording initially was admitted into evidence and played for the jury without any objection

 from Defendants; however, the Court did give a limiting instruction — at the parties’ request —

 that it was only admissible against Walker. See 6/16/2014 (Rough Tr.) at 119-120. Later in

 trial, the Government proposed playing the recording again for the jury against all Defendants.

 At that time, Gills objected to the admissibility of the statements on the recording.           See

 6/25/2014 (Rough Tr.) at 151-157.

        During the portion of the phone conversation that was played for the jury, Walker

 discussed two topics with the unidentified female: (i) a purported plan to split blame for found

 contraband, and (ii) an apology by Gills for purportedly accusing Walker of “telling.” The Court

 addresses the admissibility of each topic in turn.

        1. Statements Regarding the Plan to Split Blame

        During the call with the unidentified female, Walker discussed an incident where a

 vehicle in which he, Gills, and Alan Cunningham were occupants was pulled over. During this

 stop, the officers located drugs both on Walker and in the vehicle, as well as a firearm. In a

 written statement to the police, Walker admitted that the drugs on his person were his; that the

 drugs in the vehicle were not his, but that he put them into the car for an unidentified individual;

 and that the firearm did not belong to him. See T. Simpson, 6/25/2014 (Rough Tr.) at 76-78; W.

 Suttles, 6/25/2014 (Rough Tr.) at 123-124; Ex. 302. However, during the recorded phone call,

 Walker told the unidentified female of a plan the group originally formed to split responsibility

 for some of the found items.6 The relevant portion of the recording is as follows:


 6
   As mentioned, Walker’s conversation with the unidentified female was recorded and the
 Government has produced a transcript. Gills does not object to the transcript’s accuracy.

                                                  13
Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4386 Filed 05/13/15 Page 14 of 19




        JW      But look though the it be it be them fuck niggas be telling on niggas like
                like that nigga Leon Le Le I wouldn’t be in here if it wasn’t for that bitch
                ass nigga man.

        UF      I don’t even know who the fuck that is either.

        JW      Man B.G.’s little brother man Leon.

        UF      Oh.

       JW       Yeah man. I wouldn’t be in here if it wasn’t for that bitch as nigga on
                some real shit. The nigga told the police the nigga the nigga had a pistol
                on him you know what I’m saying? I gave I told ah ah ah A.P. to take the
                pistol you know what I’m saying? I’m like A.P. take this pistol. I’m like
                Le Le man you take one of these ounces you know what I’m saying? So
                we get down town and shit A.P. take the pistol. I go back there and tell
                them the pistol A.P.’s and one of the ounces is Leon and one of them mine
                right? This nigga go back there and tell them both of the ah ounces mine
                and the pistol A.P.’s and shit and get off with nothing.

        UF      Damn

        JT      You know what I’m saying? I would of man I would of got I would have
                got ah I would have got I would got a one to eight man. I would have got
                a one to eight. I’d be home right now.

        UF      I did not know that.

 See 8/1/2009 Tr. at 1 (Dkt. 651-1).

        Gills objected to the introduction of this statement by filing a motion for a limiting

 instruction (Dkt. 651). Gills claimed that the statement was not admissible against him under

 Rule 804(b)(3), because it was not against his penal interest. Gills recognized that the statement

 incriminated Walker, but Gills claimed that it was inadmissible against him (Gills) because it

 exculpated — rather than inculpated — him (Gills). Gills Br. at 4 (Dkt. 651). The Government

 responded that Gills misunderstood the rule, and that the proper inquiry is whether the statement

 is against the declarant’s penal interest, i.e., Walker’s, not Gills’s. Gov’t Br. at 7 (Dkt. 657).




                                                   14
Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4387 Filed 05/13/15 Page 15 of 19




        In reply, Gills stated that, “after reading all the briefing and filings on this issue, [he] now

 concedes that [the Government’s argument] may well be” accurate. Gills Reply at 3 (Dkt. 664).

 However, Gills argued that although the statement “arguably meets . . . the first two of [the]

 requirements” for admissibility under Rule 804(b)(3), the statement was not sufficiently

 trustworthy to be admissible. In particular, Gills claimed that the statement was not trustworthy

 because (i) it could not be accurate, and (ii) it was mere bragging or puffery to impress the

 unidentified female. Id. at 3-4.

        The Court finds that the statement is admissible under Rule 804(b)(3). The statement

 was against Walker’s penal interest because it incriminated him; the statement suggested that

 Walker sought to evade a harsher punishment by devising a plan to mislead law enforcement

 regarding the ownership of the drugs. Therefore, from the perspective of a reasonable person,

 the statement was against Walker’s penal interest. Furthermore, Walker was likely to invoke his

 Fifth Amendment privilege if called to testify and was, therefore, unavailable as a witness.

 Johnson, 581 F.3d at 327.

        The Court also concludes that corroborating circumstances indicate the statement’s

 trustworthiness under Rule 804(b)(3). The statement was recorded, which eliminates the risk

 that it will not be relayed to the jury accurately. See id. The statement also was not made to law

 enforcement or in the course of a formal investigation, but rather to someone who appears to be a

 friend, family member, or confidant. Id. Therefore, Walker was not attempting to curry favor

 from law enforcement when making the statement, and there was no reason to lie or deceive the

 individual on the other end of the line. Moreover, Walker did not minimize his role in the

 agreement; to the contrary, he described his masterminding of the plan to have Gills take




                                                  15
Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4388 Filed 05/13/15 Page 16 of 19




 responsibility for some of the controlled substances. Id. The Court, therefore, finds that the

 statement carries sufficient guarantees of trustworthiness.

        Gills argued that the statement is not sufficiently trustworthy because it cannot be true.

 In particular, Gills maintained that the trial testimony and evidence suggested that Gills refused

 to talk to law enforcement, whereas Walker tells the unidentified female that Gills told law

 enforcement that the drugs were Walker’s. Gills Reply at 3-4.

        In making this argument, however, Gills asks the Court to determine the truthfulness and

 accuracy of the statement itself. The Sixth Circuit has made clear that this is not a proper inquiry

 under Rule 804(b)(3): “The third prong of Rule 804(b)(3)’s trustworthiness analysis requires us

 to focus not ‘on whether other evidence in the case corroborates what the statement asserts, but

 rather on whether there are corroborating circumstances which clearly indicate the

 trustworthiness of the statement itself.’” Johnson, 581 F.3d at 327 (citing Franklin, 415 F.3d at

 547). Gills certainly was free to undermine the accuracy of the statement on this basis before the

 jury; but courts do not consider the accuracy of the statement in determining admissibility under

 Rule 804(b)(3).

        Gills also argued the statement is not sufficiently trustworthy because it was mere puffery

 or bragging. The Court rejects this argument for the same reason discussed in section II.B.,

 supra. Therefore, the Court concludes that this portion of Walker’s statement is admissible as a

 statement against his penal interest.

        Before admitting the statement outright, however, the Court notes that some of this

 portion of the recording potentially contains hearsay within hearsay under Rule 805.             In

 particular, Gills’s purported statement to law enforcement that the drugs were Walker’s and the

 gun was A.P.’s is an out-of-court statement that needs to be independently admissible. However,



                                                 16
Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4389 Filed 05/13/15 Page 17 of 19




 the Government has stated that it was not introducing this underlying statement for the truth of

 the matter asserted, but rather to show its effect upon Walker. In other words, the Government

 was not introducing what Walker said Gills told law enforcement to show what Gills actually

 told law enforcement, but rather to show that Walker created a plan to distribute the drugs

 between himself and Gills, which he believed Gills violated. See 7/3/2014 (Rough Tr.) at 8-9.

        The Court agrees that the underlying statement was not offered for the truth of the matter

 asserted, and thus does not constitute hearsay. Whether Gills actually did or did not talk to law

 enforcement is irrelevant to whether Walker thought Gills did not go forward with the purported

 plan to split the drugs. And Walker’s belief that Gills did not do so reinforces that such a plan

 existed.    Therefore, the underlying statement about what Gills purportedly said was

 independently admissible as non-hearsay, see Fed. R. Evid. 801(c)(2), and the statement was

 admissible against all Defendants.

        2. Statements Regarding Jatimothy Walker “Telling”

        In a later part of the recorded conversation, Walker told the unidentified female about

 how Gills wrote a rap song in which he falsely claimed Walker had been “telling.” Walker went

 on to explain how Gills purportedly apologized profusely for writing this song:

        JW     Hell yeah man. While that nigga while that nigga all making songs about me
               telling and shit you know what I’m saying?

        UF     Right

        JW     And I seen him and when I was at the county they put that nigga on my floor man
               that nigga was crying and everything like “man J.T. I’m sorry man like I’m sorry
               man I’m gonna redo that song man I’m sorry man like man I should have I should
               waited to talk to you before ah I made any decisions man.”

        UF     UI

        JW     “Man you the realest nigga I know man. I’m sorry man.”



                                                17
Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4390 Filed 05/13/15 Page 18 of 19




 See 8/1/2009 Tr. at 2 (Dkt. 651-1).

        Gills originally included this portion of the statement with his motion requesting a

 limiting instruction. However, on July 7, 2014, Gills’s counsel stated on the record that, if the

 Court was inclined to admit the previous portion of the statement (regarding the plan to allocate

 the drugs between Gills and Walker), then the Court should not “parse” the statement for

 purposes of giving limiting instructions. See 7/7/2014 (Rough Tr.) at 160-162. In other words,

 Gills stated that if the Court was going to admit the first part of the statement against all

 Defendants, then both portions — including the portion regarding Gills’s purported apology —

 should be admitted without any limiting instructions.

        Given that the Court admitted the earlier portion of the recording against all Defendants

 for the reasons described above, the Court deems any argument by Gills regarding this latter

 portion to be abandoned. Moreover, no other Defendant filed a notice of joinder in Gills’s

 motion, nor did any other Defendant object following Gills’s counsel’s claim that the Court

 should not “parse” the statement to give limiting instructions if the Court was inclined to give

 instructions as to some, but not all, of the statement. Therefore, the Court admits the portion of

 the statement dealing with Gills’s purported apology for accusing Walker of “telling.”7

                                       III. CONCLUSION

        For the reasons described above, the Court denies Defendant Oldham’s motion to exclude

 statement (Dkt. 656), denies Defendant Gills’s motion for limiting instruction (Dkt. 651), and

 grants the Government’s penal-interest motion (Dkt. 657).

 7
   Gills also argues that the recording should be inadmissible because he was not notified in
 advance that it would be introduced against anyone other than Walker. See Gills Br. at 5-6. The
 Court rejects this argument. Like the Harden statement described in footnote 3, supra, Gills fails
 to articulate any prejudice arising from the purportedly late disclosure that the Government
 intended to introduce the recording against Defendants other than just Walker. Therefore, the
 Court rejects this argument.

                                                18
Case 4:12-cr-20287-MAG-MJH ECF No. 783, PageID.4391 Filed 05/13/15 Page 19 of 19




        SO ORDERED.


 Dated: May 13, 2015                         s/Mark A. Goldsmith
        Detroit, Michigan                    MARK A. GOLDSMITH
                                             United States District Judge




                                  CERTIFICATE OF SERVICE

 The undersigned certifies that the foregoing document was served upon counsel of record and
 any unrepresented parties via the Court's ECF System to their respective email or First Class
 U.S. mail addresses disclosed on the Notice of Electronic Filing on May 13, 2015.

                                             s/Johnetta M. Curry-Williams
                                             Case Manager




                                                19
